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                                No. 2024-2211


               UNITED STATES COURT OF APPEALS
                  FOR THE FEDERAL CIRCUIT


       NOVARTIS PHARMACEUTICALS CORPORATION, Plaintiff-Appellant

                                       v.

MSN PHARMACEUTICALS INC., MSN LABORATORIES PRIVATE LIMITED, MSN LIFE
SCIENCES PRIVATE LIMITED, GERBERA THERAPEUTICS, INC., Defendants-Appellees


   Appeals from the United States District Court for the District of Delaware,
     Nos. 20-2930-RGA and 22-1395-RGA, Judge Richard G. Andrews.


         NOVARTIS PHARMACEUTICALS CORPORATION’S
             NON-CONFIDENTIAL OPENING BRIEF


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AUGUST 20, 2024
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                     U.S. Patent No. 11,096,918 Claim 1

1. An amorphous solid form of a compound comprising anionic (S)-N-valeryl-N-
   {[2’-(1H-tetrazole-5-yl)-biphenyl-4-yl]-methyl}-valine, anionic (2R,4S)-5-
   biphenyl-4-yl-4-(3-carboxy-propionylamino)-2-methyl-pentanoic acid ethyl
   ester, and sodium cations in a 1:1:3 molar ratio.
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                         CERTIFICATE OF INTEREST

Counsel for Novartis Pharmaceuticals Corporation certify under Federal Circuit
Rule 47.4 that the following information is accurate and complete to the best of their
knowledge:

1.    Represented Entities. Provide the full names of all entities represented by
undersigned counsel in this case.

Novartis Pharmaceuticals Corporation.

2.     Real Parties in Interest. Provide the full names of all real parties in interest
for the entities. Do not list the real parties if they are the same as the entities.

None.

3.     Parent Corporations and Stockholders. Provide the full names of all parent
corporations for the entities and all publicly held companies that own 10% or more
stock in the entities.

Novartis AG.

4.    Legal Representatives. List all law firms, partners, and associates that (a)
appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already entered
an appearance in this court.

MCCARTER & ENGLISH, LLP: Daniel M. Silver, Alexandra M. Joyce, Maliheh Zare

VENABLE LLP: Nicholas N. Kallas, Christina Schwarz, Gregory J. Manas, Laura K.
Fishwick, Melinda R. Roberts, Shannon K. Clark, Susanne L. Flanders, Whitney M.
Howard.

5.     Related Cases. Other than the originating case(s) for this case, are there
related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?

Yes, see separately filed statement.
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6.    Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases) and
26.1(c) (bankruptcy case debtors and trustees).

Not applicable.

Dated: August 20, 2024                              /s/ Deanne E. Maynard
                                                      Deanne E. Maynard




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                         CONFIDENTIAL MATERIAL OMITTED

In the non-confidential version of this brief, pages 9-12, 32, 34, 44, 46, 47, 50,
and 52 omit material describing Novartis’s and MSN’s confidential financial
information and MSN’s manufacturing information.




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                    TABLE OF ABBREVIATIONS

ANDA                        Abbreviated new drug application

API                         Active pharmaceutical ingredient

DSC                         Differential scanning calorimetry

FDA                         United States Food and Drug Administration

FT-IR                       Fourier-transform infrared spectroscopy

TVS                         Trisodium valsartan-sacubitril complex

XRPD                        X-ray powder diffraction




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                      STATEMENT OF RELATED CASES

      This appeal and Federal Circuit Appeal No. 24-2212 arise from the same order

denying Novartis’s motion for a preliminary injunction based on U.S. Patent No.

11,096,918. In re Entresto (Sacubitril/Valsartan) Patent Litig., No. 1:20-md-02930-

RGA (D. Del. Aug. 12, 2024), Dkt. No. 1456; Novartis Pharms. Corp. v. MSN

Pharms. Inc., No. 1:22-cv-01395-RGA (D. Del. Aug. 12, 2024), Dkt. No. 239.

Novartis’s notice of appeal from that order was docketed in the district court in the

dockets for both the MDL and Civil Action case, per instructions from the District

of Delaware, giving rise to two separate appeal numbers in this Court for the same

appeal. In re Entresto (Sacubitril/Valsartan) Patent Litig., No. 1:20-md-02930-

RGA (D. Del. Aug. 12, 2024), Dkt. No. 1459; Novartis Pharms. Corp. v. MSN

Pharms. Inc., No. 22-cv-1395-RGA (D. Del. Aug. 12, 2024), Dkt. No. 240.

      Counsel for Novartis know of no other cases pending in this or any other court

that will directly affect or be affected by this Court’s decision here.

                        JURISDICTIONAL STATEMENT

      The district court had jurisdiction under 28 U.S.C. §§ 1331 and 1338. The

court denied Novartis’s preliminary-injunction motion on August 12, 2024, and

Novartis filed a notice of appeal the same day. Appx10-11; Appx9021-9022. This

Court has jurisdiction under 28 U.S.C. §§ 1292(a)(1) and (c)(1).




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                                INTRODUCTION

        Novartis scientists created a lifesaving heart-failure treatment:     a new

pharmaceutical combination of two drugs, valsartan and sacubitril.           Sold as

ENTRESTO®, the combination therapy has become the preferred first-line treatment

for heart failure in adults with reduced ejection fraction—and Novartis’s top-selling

drug.

        Developing ENTRESTO® was no small task. Novartis scientists labored for

years to develop and then fine-tune their breakthrough. Along the way, they created

multiple inventions as they worked to give patients the best forms of their

combination therapy. The ’918 patent claims one of those forms—a compound

comprising anionic valsartan, anionic sacubitril, and sodium cations non-covalently

bound in a 1:1:3 molar ratio (“TVS”)—as an amorphous solid.

        MSN now wants to piggyback on Novartis’s hard labor and substantial

investment. More than two years before the ’918 patent expires, MSN has threatened

to launch at risk a generic competitor to ENTRESTO®. MSN’s ANDA adopts a

manufacturing process that creates generic products that infringe Novartis’s ’918

patent—the validity of which is not challenged here. All the relevant factors support

preliminarily enjoining MSN’s at-risk launch for the short time needed to final

judgment, with trial scheduled for December of this year.
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      First, the district court erred in concluding Novartis was unlikely to prove by

a preponderance of the evidence that MSN infringes, the only merits issue MSN

challenged.   Novartis presented not just one, but multiple tests supporting its

infringement case. That testing shows MSN chose a manufacturing process that

generates amorphous TVS in the final tablet product. Novartis’s ample evidence

points to only one conclusion—Novartis is likely to show infringement.

      In concluding otherwise, the district court departed from claim 1’s plain text

and added a new limitation requiring the amorphous form of TVS to “predominate”

over an unrecited form, crystalline TVS. That construction defies precedent. Even

the district court recognized that the “the intrinsic record provides virtually no useful

guidance” supporting such a limitation. Appx20. Under bedrock claim-construction

principles, that precluded adding such a limitation to claim 1. And applying the

correct construction, Novartis’s rigorous testing showing likely infringement stands

unrebutted by any comparable testing from MSN.

      Novartis also showed likely infringement even under the district court’s

construction. The district court’s contrary conclusion relied on MSN testing that

was incapable of determining the form of the active pharmaceutical ingredients

(API) in MSN’s final product, including because it failed to compare the test results

to a reference that would identify the API’s form. Instead, MSN merely compared

test results of its final product to other results testing the isolated API at an earlier



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stage. Such testing merely shows the API alone and in the final product are

substantially similar. But it begs the question of what form the API takes at either

stage. Only Novartis’s testing addressed that issue.

      Second, the district court also wrongly disregarded the substantial harm an

unwarranted premature launch would cause. Introducing a generic ENTRESTO®

competitor would inflict massive financial damage on Novartis. That damage would

be irreparable, including because it would permanently erode Novartis’s market

position; could not be accurately calculated; and would be so enormous that MSN is

unlikely to be able to satisfy a judgment. The district court concluded otherwise by

adopting MSN’s unsupported assertions and overlooking the many decisions from

this Court recognizing that similar facts suffice to show irreparable harm.

      Finally, the equities further favor a preliminary injunction. Again, the harm

to Novartis from a generic launch would be irreparable. The public interest would

also suffer: the public has a strong interest in honoring the bargain of disclosure for

a limited patent term—especially when patent validity is not an issue. And a

premature launch would imperil Novartis’s ability to maintain programs benefiting

physicians and patients.

      MSN’s launch should be preliminarily enjoined until final judgment is entered

in this patent-infringement suit.




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                         STATEMENT OF THE ISSUES

      Whether Novartis’s request for a preliminary injunction should have been

granted because:

      a.    in concluding Novartis is unlikely to prove infringement:

            (i) the district court misconstrued the claims, and under the correct

                  construction, Novartis is more likely than not to show infringement,

                  or

            (ii) regardless, Novartis is more likely than not to show infringement

                  under the district court’s construction;

      b.    absent injunctive relief, Novartis is likely to suffer irreparable harm;

            and

      c.    the balance of the hardships and public interest weigh in favor of

            enjoining MSN’s launch of its generic products pending resolution of

            this patent litigation.

                           STATEMENT OF THE CASE

      A.    The ’918 Patent Claims an Amorphous Solid Form of Trisodium
            Valsartan-Sacubitril Complex

      Novartis scientists developed multiple inventions on the path to

ENTRESTO®, which has become the preferred first-line therapy for heart failure in

adults with reduced ejection fraction. Appx5781(¶26). As relevant here, the ’918




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patent claims a version of Novartis’s combination therapy employing a “dual-acting

compound” or “complex” of two active ingredients: valsartan and sacubitril.

      Claim 1 of the ’918 patent recites:

             1. An amorphous solid form of a compound comprising
                anionic      (S)-N-valeryl-N-{[2’-(1H-tetrazole-5-yl)-
                biphenyl-4-yl]-methyl}-valine, anionic (2R,4S)-5-
                biphenyl-4-yl-4-(3-carboxy-propionylamino)-2-
                methyl-pentanoic acid ethyl ester, and sodium cations
                in a 1:1:3 molar ratio.

Appx89(col.32:42-46). The recited chemical names refer to valsartan and sacubitril.

Appx6234-6235(¶11). The specification defines the claimed “compound” as a

supramolecular structure in which valsartan and sacubitril are non-covalently bound.

Appx76(col.6:55-61). That structure is “beneficial over” “simply physically mixing

two active agents,” thus improving “use as [a] first line therapy, ease of formulation,

and ease of manufacture.” Appx82(col.17:46-51); Appx87(col.28:27-32). The

claim recites “anionic” valsartan and sacubitril, which have charges balanced by

sodium cations when combined in a 1:1:3 molar ratio as claimed. Appx6234-

6235(¶11).    The resulting non-covalent bonds yield a complex referred to as

Trisodium Valsartan Sacubitril, or “TVS.” Appx6234-6235(¶11); Appx618(¶12).

      TVS can exist in different forms, depending on how the subunits (i.e., units

of one anionic valsartan molecule, one anionic sacubitril molecule, and three sodium

atoms) are packed together. Appx82(col.17:41-45). In the crystalline form, these

subunits are oriented the same way and packed in a repeating three-dimensional


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pattern. See Appx6898(¶35). In the amorphous form, the subunits are oriented at

random, with no long-range, three-dimensional order. See Appx6898(¶35). Regions

of amorphous TVS may be found in heterogeneous physical mixtures with, for

example, crystalline valsartan disodium, crystalline sacubitril sodium, crystalline

TVS, or other substances such as excipients.                     Appx84(col.21:63-67);

Appx89(col.32:47-49);           Appx82(col.17:41-45);            Appx1731-1732(¶31);

Appx1975(15:8-10). The ’918 patent covers the amorphous form of TVS.

      The ’918 patent gives an example of amorphous TVS. Example 1 describes

a process for making a “glassy solid” using starting materials including sacubitril

free acid and valsartan free acid. Appx87(col.28:37-54). A skilled artisan would

have understood that the “glassy solid” is amorphous TVS. Appx6325-6327(¶¶114-

116); Appx6185-6197(¶¶19, 22-23, 25-42); Appx3534(897:11-19).

      The patent also details how to identify TVS in its crystalline and amorphous

forms. It explains that TVS “is characterized by very distinct spectral peaks and

shifts that are not observed in the physical mixture.” Appx82(col.17:41-58). These

“spectral peaks and shifts” refer to spectroscopic analytical techniques, including

Raman spectroscopy, disclosed in the specification. Appx6235(¶13). In Raman

spectroscopy, laser light is directed at a point on a sample and is scattered at different

wavelengths based on vibrations in the molecules present. Appx6241(¶36). The

spectrum of scattered light provides information about the sample’s structure at the



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sample point; multiple spectra from many sample points can give a picture of the

sample’s overall structure. Appx6909-6910(¶66). Identifying the sample’s makeup

at any measured point generally requires “comparing the experimental Raman

spectra obtained from the sample to [a] reference Raman spectra of known

compounds.”     Appx6235(¶13); Appx6241-6242(¶¶36-37).         Unlike some other

analytical techniques, Raman spectroscopy can “detect[] the presence of non-

covalent bonds between” molecules and thus is a useful tool for distinguishing a

complex in which valsartan and sacubitril are joined by non-covalent bonds from “a

physical mixture” in which they are not. Appx6183(¶13).

      The validity of the ’918 patent has been tested in another, since-settled

proceeding involving other generic manufacturers. Novartis Pharms. Corp. v. Alkem

Lab’ys Ltd., No. 1:21-cv-01330-RGA (D. Del.); Novartis Pharms. Corp. v. Hetero

USA, Inc., No. 1:21-cv-01760-RGA (D. Del); Novartis Pharms. Corp. v. Torrent

Pharma Inc., No. 1:21-cv-01794-RGA (D. Del.). After trial, the district court

“stated on the record” that it was “going to find … in favor of Novartis.” Appx3533-

3538(896:24-901:7). It then read from the bench a decision explaining the reasons

why it would uphold the patent against all their challenges—lack of written

description, nonenablement, and indefiniteness. Appx3533-3538(896:24-901:7).

The patent expires on November 8, 2026. Appx67.




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      B.     Novartis Sued MSN for Infringement of the ’918 Patent

      Novartis sued MSN for infringement of the ’918 patent. Appx22. Expert

discovery is ongoing, with trial scheduled in December 2024. Appx1021-1022.

             1.    Claim construction

      At claim construction, the sole disputed phrase was “[a]n amorphous solid

form of a compound.” Appx1671. The district court construed that phrase to mean

“a solid form of a compound in which the amorphous form of the compound

predominates”; “[a]n amorphous solid form is mutually exclusive from a crystalline

solid form, but not necessarily mutually exclusive from a partially crystalline solid

form.” Appx16.

      In doing so, the court rejected Novartis’s position that the claim language

should be given its plain meaning. Appx16; Appx1671-1680; Appx1695-1705. The

court also rejected MSN’s meaning of “a substantially pure amorphous solid form

of a compound.” Appx16; Appx19 (emphasis added). Instead, the district court

formulated its own construction that requires looking outside the recited amorphous

TVS to determine infringement.        Under that construction, where there is a

combination of amorphous TVS and crystalline TVS, the amorphous form must

“predominate” over the crystalline. Appx16.




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             2.     Infringement dispute over MSN’s products

      The parties’ infringement dispute focused on two aspects of MSN’s ANDA

products: (1) whether those products include any amount of amorphous TVS; and

(2) if so, whether that amorphous TVS predominates over any crystalline TVS in

MSN’s products. At the preliminary-injunction stage, the parties focused on three

sources of data: MSN’s ANDA; testing by Novartis’s expert Dr. Adam Matzger;

and MSN-commissioned lab testing. Also, although the parties agree that MSN’s

isolated API is crystalline, they dispute whether the API is a mixture of separate

crystalline valsartan disodium and separate crystalline sacubitril sodium (Novartis’s

position) or instead crystalline TVS (i.e., a crystalline complex of valsartan and

sacubitril) (MSN’s position). The parties also dispute whether MSN’s ANDA

manufacturing process allows for amorphous TVS to be produced and therefore

present in MSN’s ANDA tablet products accused of infringement.

                    a.     MSN’s ANDA

      Manufacturing. MSN’s ANDA describes MSN’s manufacturing process,

disclosing steps likely to produce TVS in the amorphous form. Manufacturing Information

                             Manufacturing Information

                    Manufacturing Information                              Appx4874;

Appx6249 n.6.                           Manufacturing Information

                                Manufacturing Information



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  Manufacturing Information      . Appx5103-5104; Appx5116; Appx6249 n.6. MSN

refers to the resulting solid API as “Form-S” and represents in its ANDA that the

isolated API, before it is         Manufactuing Information , is     Manufacturing Information


Appx8155.

      After producing the isolated API,                    Manufacturing Information

                                   Manufacturing Information

    Manufacturing Information         Appx4861-4862.             Manufacturing Information

     Manufacturing Information         Appx4858; Appx4861.          Manufacturing Information

               Manufacturing Information                          Appx5481; Appx5487;

Appx5116; Appx5120. As Dr. Matzger explained,                     Manufacturing Information

                       Manufacturing Information                                 Appx6264-

6265(¶72).

      ANDA data. MSN’s ANDA also discloses data from infrared spectroscopy

(“FT-IR”) and differential scanning calorimetry (“DSC”) testing collected from

isolated API samples, meaning not the API in the                 Manufacturing Information      .

Appx8085. Yet the ANDA never compares that data to any known references. See

Appx8085 (“Sacubitril and Valsartan (Form-S) is not published / reported in the

compendia [USP and Ph. Eur.]; hence conforming to this a laboratory developed

batch has been chosen for the characterization studies.” (alteration in original)). For

example, the ANDA does not show whether the results match those for a physical



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mixture of separate crystalline valsartan disodium and separate crystalline sacubitril

sodium, where the valsartan and sacubitril are not joined as a complex but instead

may be separated into regions containing primarily one molecule or the other.

Appx6250(¶52).

      The ANDA also discloses X-ray powder diffraction (“XRPD”) data for

batches of both the isolated API and final drug products. Appx4954. XRPD is a

way of characterizing crystalline substances. X-rays directed at a sample diffract at

angles that correspond to the distance between atoms in a crystal. Appx6907(¶¶58-

59). XRPD characterizes a bulk sample as a whole; it cannot identify small regions

of amorphous substances, which do not generate distinct peaks. Appx6269(¶¶85-

86); Appx6936(¶117) (MSN’s expert agreeing about lack of distinct peaks). MSN’s

ANDA XRPD data show that its                          Manufacturing Information

                                     Manufacturing Information

         Manufacturing Information          Appx4954; Appx4964; see also Appx8105;
              Manufacturing
Appx8027      Information     . But as with the other tests, MSN’s ANDA never

compares the XRPD data to any known references, such as for separate crystalline

valsartan and separate crystalline sacubitril—the only comparison was between the

final drug product and the isolated API itself. Appx6250(¶52).




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                      b.   The parties’ testing on MSN’s isolated API and
                           finished tablets

      The parties also performed testing of MSN’s isolated API and its finished

tablets, although the party’s testing methods differed.

      Novartis’s expert, Dr. Matzger, performed two types of testing on MSN’s

isolated API:       X-ray microdiffraction (Appx6247-6249(¶¶45-49)) and Raman

mapping (Appx6242-6246(¶¶38-44)). He also performed Raman mapping on the

finished tablets.     Appx6252-6264(¶¶57-68), Appx4420-4446; Appx4470-4541.

From these test results, Dr. Matzger concluded MSN’s finished tablets contain small

regions of amorphous TVS          Manufacturing Information    ; the rest of the API in

the final product is either separate crystalline valsartan disodium or separate

crystalline sacubitril sodium. Appx6250(¶53). Dr. Matzger found no regions of

crystalline TVS (i.e., a crystalline complex of valsartan and sacubitril).

Appx6250(¶53).

      Novartis’s X-ray microdiffraction.        Dr. Matzger collected two X-ray

microdiffraction patterns and one XRPD pattern from MSN’s isolated API.

Appx6247-6249(¶¶45-49).        X-ray microdiffraction is similar to XRPD but is

performed on individual particles rather than bulk samples.          Appx6247(¶46);

Appx6269(¶86).         Because of that increased granularity in testing, X-ray

microdiffraction can detect heterogeneity that XRPD cannot. Appx6247(¶46);

Appx6269(¶86). Because any two particles in a homogenous substance would have


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similar makeups, X-ray microdiffraction of each would produce similar X-ray

microdiffraction patterns; but if the test substance is heterogeneous, X-ray

microdiffraction of two particles could produce very different microdiffraction

patterns. See Appx6247(¶46); Appx6269(¶86). Dr. Matzger’s two microdiffraction

samples (top, red and green) produced two very different patterns, each with a subset

of the features present in the bulk XRPD data (bottom, blue):




Appx6247-6249(¶¶47-49).      Dr. Matzger concluded that this testing shows the

isolated API (i.e., MSN’s “Form-S”) is a heterogeneous mixture, not a single

crystalline complex. Appx6247-6248(¶47).

      Novartis’s Raman mapping. Dr. Matzger also performed Raman mapping

on MSN’s isolated API and its final dosage form.          Appx6242-6246(¶38-44);


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Appx6252-6264(¶¶57-68); Appx4420-4446; Appx4470-4541.                  Like X-ray

microdiffraction, and unlike XRPD, Raman mapping can precisely identify the

makeup of a sample within specific regions. Appx6241; Appx6268-6270(¶36, 82-

83, 88). Dr. Matzger collected thousands of experimental Raman spectra from

samples of MSN’s products and used them to map the substances in regions across

the sample. Appx6241-6242(¶¶36-37); Appx4394-4575. Dr. Matzger compared the

collected experimental spectra to reference Raman spectra for known substances:

separate crystalline sacubitril sodium, separate crystalline valsartan disodium, and

amorphous TVS.

      Dr. Matzger found that portions of the isolated API samples closely matched

the reference spectrum for separate crystalline valsartan disodium (Figure 2), and

other parts closely matched the spectrum for separate crystalline sacubitril sodium

(Figure 3):




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Appx6242-6246(¶¶38-43). The entire sample matched one or the other of those two

separate substances. Appx6246-6247(¶44). Dr. Matzger concluded that MSN’s API

is a physical mixture of separate crystalline valsartan disodium and separate

crystalline sacubitril sodium, not crystalline TVS. Appx6241(¶35).

      In MSN’s finished tablets accused of infringement, Dr. Matzger identified

regions of the tablets that match the reference spectra for separate crystalline

valsartan disodium (green), separate crystalline sacubitril sodium (red), as well as

amorphous TVS (bright yellow):




Appx6256-6257(¶61). Again, Dr. Matzger examined the Raman spectra within the

identified regions to confirm a match. The spectra below illustrate the close match

between Dr. Matzger’s experimental Raman spectra from a region identified as

amorphous TVS (black) and the reference spectrum for amorphous TVS (red).




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Appx9030; Appx6257-6258(¶62). The experimental and reference spectra both

exhibit the same peaks at 1287 cm-1, 1605 cm-1 and 1612 cm-1; both also have an

upward slope starting at around 800 cm-1 and peaking around 810 cm-1 followed by

a downward slope lacking clearly defined peaks from about 810 cm-1 to 900 cm-1

(orange box). Appx6256-6260(¶¶61-63); see Appx6270-6272(¶¶90-96). Having

identified these features in the testing of MSN’s products, Dr. Matzger concluded

that the products contain amorphous TVS, and no crystalline TVS. Appx6253-

6254(¶59).

      MSN’s Raman spectroscopy. MSN engaged a lab, EAG, to measure Raman

spectra for two samples of its isolated API and for the excipients in its product; MSN

performed no Raman spectroscopy testing of its finished tablet product that is

actually accused of infringement. Appx6273-6274(¶¶98-100). As with Novartis’s




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X-ray microdiffraction patterns, MSN’s two Raman spectra are different, showing

heterogeneity in the API:




Appx6274(¶99). The first sample (top) has peaks around 1598 cm-1 and 1281 cm-1,

which Dr. Matzger explained are indicative of crystalline sacubitril sodium.

Appx6274(¶100); see Appx6260-61(¶64). The second (bottom) has the sacubitril

sodium peaks plus peaks at around 1256 cm-1 and 1299 cm-1 indicative of crystalline

valsartan disodium. Appx6274(¶100); Appx6260-61(¶64). Dr. Matzger concluded

that EAG’s Raman data supports his conclusion that the isolated API is a physical

mixture of separate valsartan and separate sacubitril, and not crystalline TVS.

Appx6274(¶99).




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             3.    Preliminary-injunction proceedings

      After the FDA approved MSN’s ANDA in late July 2024, Novartis sought a

preliminary injunction based on claim 1 of the ’918 patent.        Appx2461-2471;

Appx9023-9050; Appx2389. MSN opposed; on the merits, MSN disputed only

infringement and did “not raise any arguments regarding validity.” Appx4. The

district court held oral argument, with no evidentiary hearing. Appx9103-9197.

      Applying its claim construction, the district court denied Novartis’s

preliminary-injunction request. Appx2, Appx4-6. Without disagreeing with the

close match between Dr. Matzger’s Raman spectra from MSN’s final product and

the reference spectra for amorphous TVS, the district court faulted Dr. Matzger for

allegedly failing also to compare his spectra to a reference spectrum of MSN’s

isolated API. Appx4-5. Based on that purported failure, the district court concluded

Novartis was unlikely to prove “MSN’s ANDA products contain amorphous TVS.”

Appx5. The district court also concluded Novartis had failed to show that other

regions of MSN’s product contain a physical mixture of separate crystalline

valsartan disodium and separate crystalline sacubitril sodium rather than crystalline

TVS. Appx5-6. Citing MSN’s ANDA test data and the parties’ “supporting test

data and what appear to be valid criticisms of said test data from both sides,” the

district court concluded it was “unable to find that the record favors” either side’s




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view; the district court believed that meant Novartis “has not met its burden.”

Appx6.

      The court separately concluded that Novartis failed to show irreparable harm

or that the balance of harms favored a preliminary injunction. Appx6-10. In spite

of the irreversible effects of a generic launch and the unpredictable downstream

harms to Novartis’s business activities, the court believed Novartis’s losses could be

quantified. Appx6-8. And it accepted MSN’s assertions that MSN would be able to

cover Novartis’s monetary damages. Appx8-9.

      C.     Other Proceedings

      As of the filing of this brief, Novartis also has pending in this Court fully

briefed consolidated appeals in a separate action involving U.S. Patent No.

8,101,659, in which Novartis has sought an injunction against MSN’s at-risk launch

pending resolution of those appeals. Novartis Pharmaceuticals Corp. v. Torrent

Pharma Inc., Nos. 2023-2218, 2023-2219, 2023-2220, 2023-2221.

      In addition to these patent proceedings, Novartis has challenged MSN’s

approval under the Federal Food, Drug, and Cosmetic Act. Novartis Pharms. v.

Beccera, No. 1:24-cv-2234 (D.D.C.). On August 19, 2024, the D.C. Circuit stayed

that approval pending Novartis’s preliminary-injunction appeal to that court, finding

Novartis “satisfied” all the traditional stay requirements. Order, Novartis Pharms.

v. Becerra, No. 24-5186 (D.C. Cir. Aug. 19, 2024), ECF2070612. Despite that stay,



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Novartis continues to seek an injunction in this case, which involves distinct legal

rights and timing.

                          SUMMARY OF ARGUMENT

      A.1. Novartis’s ample evidence showed it was more likely than not to prove

infringement by a preponderance of the evidence at trial.         The district court

predicated its contrary conclusion on a claim-construction error. Claim 1 plainly

recites amorphous TVS, and nothing more. Yet the district court injected an

additional limitation: a requirement that the amorphous TVS “predominate” over

crystalline TVS. Nothing about the plain claim text suggests such a limitation. The

district court itself “concede[d]” the “intrinsic record provides virtually no useful

guidance” about a predominance limitation.         Appx20.     Under basic claim-

construction principles, that should have precluded such an addition.

      Applying the correct construction, Dr. Matzger’s Raman mapping showed

MSN’s final tablet products include regions of amorphous TVS. The district court

identified no contrary testing. And its complaint that Dr. Matzger should have

performed an additional analysis was unfounded—the additional analysis would not

resolve whether MSN’s products include amorphous TVS. In any event, Dr.

Matzger did perform that additional analysis, and he explained how the results were

consistent with his conclusions.




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      2.      Novartis also showed a likelihood of success under the district court’s

construction. Instead of evaluating the evidence—including three sets of tests from

Dr. Matzger—the district court merely concluded there was conflicting evidence and

stopped. But the presence of allegedly conflicting evidence does not preclude a

preliminary injunction. Nor does the evidence actually conflict: MSN’s test data

either lacks an appropriate comparator, making it incapable of resolving the dispute

here; or it confirms Dr. Matzger’s conclusions.

      B.      Novartis’s evidence of irreparable harm was also more than enough to

warrant preserving the status quo during the short time needed to complete a trial by

the end of this year. Novartis showed all the classic markers of irreparable harm,

including head-to-head competition, lost market share, and more. The district court

rejected all this by uncritically adopting MSN’s assertions that Novartis’s harms

could be quantified and accepting MSN’s blithe assurances that MSN could cover

the amount.

      C.      The equities further favor preserving the status quo. The public has a

paramount interest in protecting patent rights, especially where validity is

unchallenged. And the public has a special interest here, where generic competition

will imperil patient programs that have helped increase awareness and access to

ENTRESTO®’s lifesaving care.




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                             STANDARD OF REVIEW

      This Court “generally review[s] a denial of a preliminary injunction using the

law    of     the   regional    circuit,        here   the     Third    Circuit,”   but

“gives dominant effect to Federal Circuit precedent insofar as it reflects

considerations specific to patent issues.” Nippon Shinyaku v. Sarepta Therapeutics,

25 F. 4th 998, 1004 (Fed. Cir. 2022). Both this Court and the Third Circuit review

a preliminary-injunction denial for abuse of discretion. Id. “A district court abuses

its discretion when it acts ‘based upon an error of law or clearly erroneous factual

findings’ or commits ‘a clear error of judgment.’” Robert Bosch LLC v. Pylon Mfg.,

Corp., 659 F. 3d 1142, 1147 (Fed. Cir. 2011). This Court “review[s] underlying

questions of law de novo.” Nippon, 25 F.4th at 1004.

                                  ARGUMENT

      All four of the traditional factors warrant enjoining MSN from launching:

Novartis showed a strong likelihood of proving infringement and will suffer

immense and irreparable harm absent injunctive relief; and the equities and public

interest warrant an injunction. Standard Havens Prods. v. Gencor Indus., 897 F.2d

511, 512 (Fed. Cir. 1990).

      A.     Novartis Will Likely Succeed in Proving Infringement

      To prove a likelihood of success on infringement, a patentee must show only

that it is “more likely than not” that it will ultimately establish infringement by a



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preponderance of the evidence. Trebro Mfg., Inc. v. Firefly Equip., LLC, 748 F.3d

1159, 1166 (Fed. Cir. 2014). Novartis amply made that showing here. The district

court founded its contrary ruling on an error of law: misconstruing the claim. Once

that error is set aside, likely infringement is evident, as Novartis’s extensive and

detailed testing shows that it is more likely than not Novartis will prove MSN’s

products contain amorphous TVS. But even under the district court’s construction,

Novartis likewise showed it is more likely than not to prove infringement: because

MSN’s isolated API is a physical mixture of separate crystalline sacubitril and

separate crystalline valsartan, the amorphous TVS in MSN’s finished products

necessarily predominates over the nonexistent crystalline TVS.

             1.     The district court erroneously read limitations into the claims,
                    and Novartis will likely prove infringement under the correct
                    construction

      Where a district court bases a preliminary-injunction ruling on an earlier claim

construction, this Court has jurisdiction to review that construction in a preliminary-

injunction appeal. Microchip Tech. v. Scenix Semiconductor, No. 99-1300, 2000

WL 945308, at *2-3 (Fed. Cir. June 16, 2000).             This Court reviews claim

construction de novo where, as here, it turns on interpreting intrinsic evidence. Id.




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                    a.     The district court erred in construing “an amorphous
                           solid form of a compound” as requiring comparison to
                           an unclaimed form

                         i.      The claim text’s meaning is plain and there is no
                                 lexicography or disclaimer

      The default rule is well settled: the words of a claim carry “their ordinary and

customary meaning” in context to one of ordinary skill in the art. Poly-Am., L.P. v.

API Indus., Inc., 839 F.3d 1131, 1136 (Fed. Cir. 2016). When claim text has a

“plain” meaning on an issue that “leav[es] no genuine uncertainties,” the rule

favoring that plain meaning is even stronger. Straight Path IP v. SIPNET EU, 806

F.3d 1356, 1361 (Fed. Cir. 2015) (“particularly difficult to conclude” different

meaning). Absent lexicography or disclaimer, a patentee is “entitled to the full scope

of its claim language.” Duncan Parking Techs. v. IPS Grp., 914 F.3d 1347, 1364

(Fed. Cir. 2019).

      Here, the meaning of claim 1’s text is plain. The claim recites “an amorphous

solid form of [TVS].” Appx89(col.32:42-46). The parties agree on what those plain

words mean: they “are directed to the specific amorphous solid form” of TVS, not

“crystalline.” MSN.Opp.12-13.1 And the term “amorphous form” undisputedly has

an accepted meaning, referring to a form lacking long-range, three-dimensional


      1
       Novartis.Motion.## and MSN.Opp.## refer respectively to the page numbers
of Novartis’s motion in this Court for an injunction pending appeal (ECF No. 5) and
MSN’s opposition to that motion (ECF No. 16).


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order. Novartis.Motion.4; MSN.Opp.12-16. As the district court acknowledged, it

“is clear” that a skilled artisan “can identify a compound as existing in an

‘amorphous solid form,’ as opposed to other forms.” Appx20. Claim 1 thus requires

amorphous TVS, nothing more. And nothing about claim 1’s text suggests a

requirement to consider whether a crystalline TVS form is also present, let alone that

the amorphous form must predominate over the crystalline form.

      The specification and prosecution history are consistent with the plain claim

text and contain no redefinition or disavowal. Appx74-92; Appx1824-1883. Rather

than suggesting any need to compare amorphous and crystalline TVS, the intrinsic

evidence shows that the two forms are “mutually exclusive,” as the district court

acknowledged. Appx16-19; Appx82(col.17:43-45). MSN agrees. MSN.Opp.13.

Given the agreed categorical distinction between amorphous TVS and crystalline

TVS, any comparison between them to determine which “predominates” is

superfluous to understanding claim 1. Amorphous TVS is amorphous TVS. Claim

1 is satisfied when amorphous TVS is present in any environment—without regard

to whether any unclaimed crystalline TVS also happens to be present or, if so, how

much is present. See Appx18-19(acknowledging parties’ agreement that partially

crystalline form of a compound is a mixture that contains the amorphous form).

      The district court itself recognized the intrinsic record’s silence about any

“limitation” “regarding the purity of the claimed amorphous compound”—by which



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the district court meant “the percentage of the compound that is amorphous rather

than crystalline.” Appx16. After canvassing the intrinsic record, the district court

“concede[d] the difficulty of pinpointing an appropriate limitation when the intrinsic

record provides virtually no useful guidance.” Appx20. But that should have been

the end of the matter—because the intrinsic record is silent about the existence of a

limitation on the relative amounts of amorphous and crystalline TVS, the district

court was required to reject any such limitation and give Novartis the “full scope”

of its claim. Duncan, 914 F.3d at 1364.

                        ii.      The district court misread the prosecution
                                 history and contradicted precedent in injecting a
                                 “predominance” requirement into claim 1

      The district court had no basis for nevertheless creating a predominance

requirement from whole cloth. It was wrong that the ’918 patent’s prosecution

history “conflicts with” Novartis’s interpretation. Appx17. The district court

pointed to a nonobviousness declaration by Dr. Michael Cima, submitted during

prosecution of the ’918 patent. Appx17-18, Appx20-21. Quoting a few isolated

statements from that declaration noting the ways in which amorphous and crystalline

forms differ generally, the district court concluded: “to embody these properties,

rather than properties associated with a crystalline solid, it follows that an

amorphous solid form of a compound must be predominantly amorphous.” Appx17,

Appx20-21.



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        That was legal error twice over—it misreads the intrinsic evidence and

contradicts precedent. Far from supporting the district court’s “predominance”

requirement, that prosecution-history declaration confirms claim 1’s plain meaning

and invites no comparison of the claimed amorphous TVS to unclaimed crystalline

TVS. It does the opposite. In noting the ways amorphous and crystalline forms

generally differ, Dr. Cima explained that possessing the crystalline form of a

particular compound would not necessarily make it easier to obtain the amorphous

form.     Appx1873(¶17).       Ultimately, Dr. Cima’s declaration stands for the

proposition that amorphous TVS is its own unique and nonobvious invention from

crystalline TVS. Appx1869-1880. Regardless, nothing in the declaration dictates a

claim construction: a “description of characteristics does not redefine a compound

with an established and unambiguous structural definition.” SmithKline Beecham v.

Apotex, 403 F.3d 1331, 1339 (Fed. Cir. 2005).

        The district court also erred in relying on the claim construction of different

claims from other patents—Nos. 8,877,938 and 9,388,134. Appx16-17. The ’938

and ’134 patents disclose and claim a different invention: crystalline trisodium

sacubitril-valsartan hemipentahydrate (“crystalline TSVH”).            During claim

construction for those patents, the district court imposed a “substantially pure”

limitation because Novartis and the Examiner had agreed during prosecution of the

’938 patent that the crystalline form would be “substantially pure.” Appx19; In re



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Entresto (Sacubitril/Valsartan) Pat. Litig., No. 20-mc-2930-LPS, 2021 WL

2856683, at *4-5 (D. Del. July 8, 2021); Appx1832; Appx1840-1841. Because the

“substantially pure” limitation in the ’938 and ’134 patents required considering

unclaimed substances that might be present alongside crystalline TSVH (i.e.,

potential impurities of crystalline TSVH), the district court here reasoned that the

presence of unclaimed substances also needed to be considered for claim 1 of the

’918 patent.

      That too was legal error. As the district court itself recognized, “prosecution

disclaimer generally does not apply when the claim term in the descendant patent

uses different language.” Ventana Med. Sys. v. Biogenex Lab’ys, 473 F.3d 1173,

1182 (Fed. Cir. 2006); Appx19-20 (district court quoting same). And here, there

was no similar colloquy or agreement between Novartis and the Examiner while

prosecuting the ’918 patent. Because the crystalline TSVH claims of the ’938 and

’134 patents differ materially from the amorphous TVS claims of the ’918 patent,

and arise from a different prosecution history, the district court erred in relying upon

the “substantially pure” limitation of those different patents to justify limiting the

’918 patent’s claim. Ventana, 473 F.3d at 1182.

      Finally, the district court also misunderstood the technology. It characterized

Novartis as asserting that “any presence of amorphous molecules allows a solid form

of a compound to be considered amorphous.” Appx17. But individual TVS



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“molecules” cannot be amorphous or crystalline because those forms depend on

whether multiple molecules have (or lack) long-range three-dimensional order.

Appx6299(¶56).

                    b.     Under the correct construction, Novartis is likely to
                           prove infringement

                         i.      Dr. Matzger’s testing performed the only
                                 comparison between the API in MSN’s final
                                 product and amorphous TVS and showed the
                                 final product includes amorphous TVS

      Once the construction is corrected, the district court’s clear error on Novartis’s

likely success is glaring. Testing by Novartis’s expert Dr. Matzger shows MSN’s

products contain amorphous TVS.         Appx6252-6264(¶¶57-68).         Dr. Matzger’s

Raman mapping of MSN’s finished ANDA tablets revealed regions of amorphous

TVS (bright yellow), as well as separate crystalline valsartan disodium (green) and

separate crystalline sacubitril sodium (red):




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Appx6256-6257(¶61). Experimental Raman spectra from the regions shown in

bright yellow show amorphous TVS in MSN’s final ANDA products:




Appx9030; Appx6257-6258(¶62). Dr. Matzger found a close match between these

experimental spectra from MSN’s tablets (black) and a reference spectrum for

amorphous TVS prepared according to the ’918 patent (red). Appx6241-6242(¶37);

Appx6186-6192(¶¶22-23, 29-33).

      Dr. Matzger’s experimental spectra from MSN’s tablets (black) display the

distinctive spectral properties of amorphous TVS shown in the reference spectrum

(red): peaks at about 1287 cm-1, 1605 cm-1, and 1612 cm-1, and an upward slope

starting at about 800 cm-1 and peaking around 810 cm-1 followed by a downward

slope between 810 and 900 cm-1 without any clearly defined peaks (orange box).

Appx6256-6259(¶¶61-62); see Appx6259-6272(¶¶63-65, 89-96) (explaining why

this combination of features is helpful to distinguish amorphous TVS). Neither the



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crystalline complex disclosed in the ’918 patent nor a mixture of separate crystalline

sacubitril sodium and separate crystalline valsartan disodium produces this

combination of spectral features. Appx6259-6272(¶¶63-65, 89-96). These results

therefore show that MSN’s products contain infringing amorphous TVS.

      Dr. Matzger went further than merely identifying amorphous TVS in MSN’s

final products. He also explained how it got there: when       Manufacturing Information


                                   Manufacturing Information

                                   Manufacturing Information

                              Manufacturing Information                     Appx6264-

6265(¶72); Appx5481; Appx5487; Appx5116; Appx5120; Appx4858.

                        ii.        The district court was wrong to demand a
                                   comparison that would not resolve the issue and
                                   which, in any event, only confirms Dr. Matzger’s
                                   testing

      In nevertheless finding Novartis unlikely to prove the presence of amorphous

TVS in MSN’s final products, the district court identified no testing contradicting

Dr. Matzger’s conclusion. Appx4-5. Nor did it disagree with Dr. Matzger’s

explanation of how                         Manufacturing Information                       .

Appx4-5. Instead, it accepted MSN’s criticism that Dr. Matzger should have

compared his Raman mapping of MSN’s final products to MSN’s “Form-S reference

spectra,” meaning a spectrum obtained from MSN’s isolated API. Appx4-5.




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      That reasoning is doubly flawed. First, comparing Raman mapping of MSN’s

final products to a reference spectrum from MSN’s isolated API would just beg the

question of whether MSN’s isolated API itself contains amorphous TVS. The only

way to determine whether either the final products or the isolated API contains

amorphous TVS is to compare Raman mapping of samples to a reference spectrum

from a known sample of amorphous TVS—which is exactly what Dr. Matzger did.

Appx6257-6258(¶62); Appx9030. And because Dr. Matzger was the only one who

performed that comparison, his conclusions that the comparison reveals amorphous

TVS in MSN’s final products stands unrebutted and suffices to show Novartis’s

likely success on infringement.

      Second, Dr. Matzger actually did compare his Raman mapping of MSN’s final

products to a reference spectrum from MSN’s isolated API (“Form-S”).         See

Appx6270-6272(¶¶90-96).       That comparison only confirms Dr. Matzger’s

conclusion on infringement because it shows that there are regions in MSN’s final

product that are different from the regions in MSN’s isolated API:




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Appx9048; Appx6376. The overlaid spectra show that Dr. Matzger’s experimental

spectrum testing from MSN’s final tablets (black) better matches the amorphous-

TVS reference (red) than it does MSN’s “Form-S” reference spectrum (blue). For

example, the experimental spectrum (black) and amorphous reference (red) include

matching peaks at 1287 and 1605 cm-1 and a similar downward slope without

distinct peaks from 810-900 cm-1 (orange box).               See Appx6252(¶62),

Appx6272(¶¶95-96). The strong match between the experimental spectrum Dr.

Matzger collected and the amorphous reference spectrum thus reinforces Dr.

Matzger’s conclusion that amorphous TVS is       Manufacturing Information      into

MSN’s final products.

      In short, with Dr. Matzger’s testing, Novartis’s showing of infringement under

the correct claim construction will be straightforward: regardless of the make-up of


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the rest of MSN’s generic products, MSN’s final products contain small regions of

amorphous TVS. Those regions are enough to infringe. See SmithKline, 403 F.3d

at 1341 (affirming that even “trace amount” of claimed compound in accused ANDA

product infringes). The district court clearly erred in finding Novartis unlikely to

meet its burden to so prove.

            2.     Even under the district court’s claim construction, Novartis
                   will likely succeed in proving infringement

      The outcome will be the same under the district court’s claim construction.

That construction governs only the two possible forms of TVS in the product, not

other components. The construction requires “a solid form of a compound in which

the amorphous form of the compound predominates.” Appx16 (emphasis added).

The claimed “compound” is TVS. Thus, under that construction, where there is a

combination of amorphous TVS and crystalline TVS, the amorphous form must

predominate over the crystalline. Appx6237-6239(¶¶23-29). As shown above,

MSN’s final ANDA products contain amorphous TVS. And as discussed below, Dr.

Matzger showed that MSN’s products contain no crystalline TVS. That necessarily

means that the amorphous TVS in MSN’s final products “predominates” over the

nonexistent crystalline TVS.




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                   a.     Novartis’s multiple tests amply show likely proof of
                          infringement

      Dr. Matzger’s multiple analyses confirm that, along with small amounts of

amorphous TVS, MSN’s products comprise regions of separate crystalline valsartan

disodium and separate crystalline sacubitril sodium rather than crystalline TVS.

      First, Dr. Matzger compared Raman mapping of samples of MSN’s final

products to reference spectra, which showed separate regions of crystalline valsartan

disodium (green in image below) and separate regions of crystalline sacubitril

sodium (red). See Appx6242(¶39). In the spectra plot below the map in Figure 6,

an experimental Raman spectrum (red) from a region in the final-product sample

identified as crystalline valsartan disodium closely matches a reference spectrum for

crystalline valsartan disodium (blue). See Appx6241-6243(¶¶37, 40-41).




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Appx6254-6255(¶60).

      Similarly, in the spectra plot below the map in Figure 7, an experimental

Raman spectrum (red) from a region identified as crystalline sacubitril sodium

closely matches a reference spectrum for crystalline sacubitril sodium (blue).




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Appx6254-6255(¶60).

      Second, Dr. Matzger compared Raman maps from samples of MSN’s isolated

API to the same reference spectra and reached the same conclusion. The maps show

distinct regions (colored red and green below) that generate distinct Raman spectra

corresponding to separate crystalline valsartan disodium and separate crystalline

sacubitril disodium, respectively. Appx6243-6246(¶¶42-43).




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Raman spectra from the entire sample showed only those two active ingredients (no

API powder is present in the black areas of the map), meaning crystalline TVS was

absent from MSN’s isolated API. Appx6246-6247(¶44).

      Finally, Dr. Matzger examined X-ray microdiffraction data from MSN’s

isolated API and concluded the data show the isolated API is a heterogeneous

crystalline physical mixture:




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Appx6247-6249(¶¶47-49). The two microdiffraction samples (top, red and green)

are drastically different, showing heterogeneity in the isolated API. Appx6247-

6248(¶47). Each microdiffraction sample produced a subset of the features present

in the bulk XRPD data, consistent with the conclusion that the isolated API is a

mixture of separate crystalline sacubitril sodium and separate crystalline valsartan

disodium. Appx6247-6249(¶¶47-49); see Appx6908(¶61) (“[W]here the respective

locations of the peaks and the intensities do not match for two samples, this suggests

that the two samples are composed of different solid forms”).

      Dr. Matzger was thus more than thorough. His results from three different

analytical tests conclusively show MSN’s isolated API contains separate crystalline

valsartan disodium and separate crystalline sacubitril sodium, with no crystalline

TVS—and MSN’s final products likewise show only those separate substances plus


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amorphous TVS. That evidence was more than enough at this stage to show MSN

likely infringes under the district court’s construction.

                    b.     The district court wrongly abdicated its responsibility
                           to assess the evidence, which, in any event, supports
                           only the conclusion that MSN likely infringes

      The district court made no findings contradicting Dr. Matzger’s detailed

testing. Rather, it merely counted up the parties’ arguments and concluded the

evidence was conflicting about whether the amorphous TVS in MSN’s products

predominates because (as Novartis contended) the products contain no crystalline

TVS but only a physical mixture: “In the face of supporting test data and what

appear to be valid criticisms of said test data from both sides, I am unable to find

that the record favors finding Form-S to be one of a physical mixture or a crystalline

complex.” Appx6. The court thus believed that the mere existence of purportedly

conflicting evidence meant Novartis did not meet its burden. Appx6. That was

error. At the preliminary-injunction stage, all Novartis must show is that it is “more

likely than not” that it will ultimately be able to prove infringement by a

preponderance of the evidence. Trebro, 748 F.3d at 1166. That required the district

court actually to evaluate the evidence and make a predictive judgment about which

evidence was stronger. Id. And on this record, that predictive judgment could be

only in Novartis’s favor given Dr. Matzger’s rigorous testing. Supra Part A.2.a.




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      In any event, the district court clearly erred in concluding the evidence was

conflicting because the data MSN cited either fails to address the relevant inquiry or

supports Novartis’s showing of infringement. For example, the district court noted

that MSN had Raman spectra from two samples of its isolated API that “contained

different peaks from those that Dr. Matzger relies on”:




Appx5-6; Appx6274(¶99). But the district court overlooked the key point of this

data—even MSN’s two API sample spectra differ materially, which confirms

Novartis’s showing that MSN’s isolated API is heterogeneous (a physical mixture)

and not a uniform substance containing crystalline TVS. Appx6273-6274(¶¶98-

100). Moreover, the first sample (top) has peaks around 1598 cm-1 and 1281 cm-1,

indicative of crystalline sacubitril sodium; and the second (bottom) has sacubitril




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sodium peaks plus peaks at around 1256 cm-1 and 1299 cm-1 indicative of crystalline

valsartan disodium. Appx6274(¶100); Appx6260-61(¶64).

      The district court erred in similar ways in pointing to various test data from

MSN’s ANDA. As the district court never contradicted (Appx5-6), none of that test

data involves a comparison between the data from MSN’s API and any known

substance—not to any confirmed sample of amorphous or crystalline TVS, nor to

other substances that could be present, like crystalline valsartan disodium or

crystalline sacubitril sodium. Appx6250(¶52); see Appx89(col.31:26-32). Absent

such a comparison, as the ’918 patent teaches, MSN’s tests cannot confirm whether

its API is a complex, rather than a physical mixture, of valsartan and sacubitril.

Appx82 (col.17:46-58); Appx89(col.31:26-32); Appx6250(¶52). MSN is left only

with Dr. Steed’s untested hypotheses, which are insufficient to undermine the well-

supported conclusions Dr. Matzger reached based on data actually involving the

required comparisons.

      Even considering the ANDA data, nothing in that data contradicts Novartis’s

infringement case. MSN pointed to XRPD data from three isolated API batches

showing a similar pattern, which MSN argued means the isolated API is uniform

crystalline TVS rather than a physical mixture of separate crystalline substances.

Appx6968-6969(¶¶177-78). But XRPD is the wrong test for the issue here, because

XRPD is a “bulk” measurement that hides small-scale heterogeneity.



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Appx6269(¶86). The FT-IR and DSC data from the ANDA are similarly flawed.

MSN compared the FT-IR peaks from its isolated API to peaks from amorphous

TVS and an amorphous mixture. Appx6973-6974(¶¶188-89). The data matches

neither, which is exactly as expected because, under both parties’ views, the isolated

API is crystalline, not amorphous; amorphous TVS is present Manufacturing Information

Manufacturing Information . The FT-IR data thus fails to address the issue here,

which is whether the API is a physical mixture of separate crystalline substances or

is instead a crystalline complex. See Appx6974-6975(¶190), Appx6900-6903(¶¶45-

51)(evidence on DSC data suffering from similar flaw).

      In the end, the district court recognized Novartis’s “valid criticisms” of

MSN’s testing data but failed to appreciate that MSN’s own test data, as a whole,

supports Novartis’s position more than MSN’s.

                                          ***

      Considered together, the test data both parties presented leaves no doubt about

the composition of MSN’s products: they contain a mixture of separate crystalline

sacubitril sodium and separate crystalline valsartan disodium—along with

amorphous TVS but no crystalline TVS. Thus, the amorphous TVS necessarily

predominates over the nonexistent crystalline form. That shows Novartis is likely

to succeed in proving infringement under the district court’s construction. The

district court clearly erred in finding otherwise.



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      B.     Novartis Will Suffer Irreparable Harm Absent an Injunction

      MSN’s threatened at-risk launch would cause Novartis irreparable harm.

Novartis would suffer a dramatic loss of market share, lose substantial profits, and

ENTRESTO®’s price would irreversibly erode. These are classic harms that support

preserving the status quo. The district court clearly erred in concluding otherwise.

             1.    Novartis demonstrated substantial and irreparable harm

      “Evidence of head-to-head competition and lost market share can support a

showing of irreparable harm.” Natera v. NeoGenomics Lab’ys, 106 F.4th 1369,

1378 (Fed. Cir. 2024). So can evidence that “the alleged injury is not quantifiable.”

Id. This Court has thus recognized the harm, “often irreparable,” of forcing a

patentee to compete against an infringer in a market the patentee “created with its

investment in patented technology.” Douglas Dynamics v. Buyers Prods., 717 F.3d

1336, 1344-45 (Fed. Cir. 2013); see Trebro, 748 F.3d at 1170.

      Here, Novartis’s substantial investments in ENTRESTO® created a new

market, making ENTRESTO® Novartis’s top-selling drug. Appx5778-5779(¶20).

That new market has generated $22 billion in cumulative worldwide sales and

$3.067 billion in U.S. sales in 2023 alone. Appx5778-5779(¶20). Novartis has

consistently identified ENTRESTO® as its top “key growth driver” in recent years.

Appx5778-5779(¶20).




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      An at-risk launch would crater this market and destroy Novartis’s position in

it. As Dr. Vellturo explains, “[g]eneric entry invariably has a profound effect on the

demand for a price of the corresponding branded drug, ultimately leading to the

virtual extinction of the brand.”      Appx5788-5789(¶40).      These effects occur

immediately, with ENTRESTO® projected to lose % of forecasted new-to-brand

prescriptions in the first month after a generic launch. Appx5794-5795(¶54).

      The financial effects would be devastating. Entry of a single infringing

generic product would result in lost market share, sales, and price erosion resulting

in lost profits of at least   Amount     in four months. Appx5800(¶65). And if

MSN’s at-risk launch triggers the entry of additional infringing competitors, as

expected, the estimated losses would be far higher. Appx5800(¶65).

      For multiple reasons, these harms would be irreparable. First, there would be

no coming back from the price erosion an at-risk launch would cause. Large third-

party payers—private insurance plans, managed care organizations, Medicare, and

Medicaid—account        for   most   prescription-drug    spending.       Appx5786-

5787(¶¶34-35). These large payers “often refuse to agree to significant price

increases and would likely resist” efforts to restore ENTRESTO®’s price following

price cuts from an at-risk launch. Appx5802-5803(¶69). Such a request might even

“strain Novartis’s relationships with certain payers.” Appx5802-5803(¶69). This

Court thus has recognized the irreparable harm from irreversible price erosion and



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loss of goodwill caused by an infringing generic competitor. Abbott Lab’ys v.

Sandoz, 544 F.3d 1341, 1361-62 (Fed. Cir. 2008); Sanofi-Synthelabo v. Apotex, 470

F.3d 1368, 1382 (Fed. Cir. 2006). The district court’s order does not address this

irreversible harm. Appx6-9.

      Second, given previous public disclosures about its revenues and the

economics of generic pharmaceutical manufacturing, it is exceedingly unlikely MSN

could fully compensate Novartis’s losses.       Appx5799-5802(¶¶63-67).      MSN’s

executive director offered merely that MSN could pay     Amount      in damages, but

Novartis’s damages are expected to be much higher. Appx6880-6881(¶¶8-11);

supra pp. 45-46. Additionally, if Novartis proves infringement during the upcoming

December trial (as is likely), it will be entitled—without any showing on the

equities—to revocation of MSN’s ANDA approval until the ’918 patent expires. 35

U.S.C. § 271(e)(4)(A); Vanda Pharms. v. West-Ward Pharms. Int’l, 887 F.3d 1117,

1138 (Fed. Cir. 2018). Given the irreversible changes in the market that a generic

launch would cause, MSN’s at-risk launch would render that relief all but worthless,

further demonstrating Novartis could not be made whole after the judgment.

      Third, the total damage is unquantifiable. Even Novartis has consistently

under-forecasted ENTRESTO®’s net revenues. Appx5797-5798(¶¶58-60). And the

difficulty in predicting ENTRESTO®’s sales has only become more pronounced

over time—Novartis’s forecasts for the first half of 2024 were far less accurate than



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its forecasts for 2021. Appx6155. That difficulty reflects the dynamic ENTRESTO®

market and unpredictable growth in demand driven by “recent clinical trials and

updated clinical guidelines.” Appx5798(¶61). Lost profits would thus be difficult

to calculate and any calculation would likely understate Novartis’s actual damages.

Appx5796-5799(¶¶58-62); see Natera, 106 F.4th at 1379 (recognizing irreparable

harm based on “challenging to quantify” losses); Celsis in Vitro v. CellzDirect, 664

F.3d 922, 930-31 (Fed. Cir. 2012) (similar).

      Fourth, the quantifiability problem would be compounded because the effects

from lost sales to generic competition would snowball into other harms that are also

impossible to predict and would be difficult to quantify. MSN’s at-risk launch could

force Novartis “to scale down” “investments,” including in “the ENTRESTO sales

force” and “patient support programs.” Appx5803(¶70). Novartis would be unable

to restore these investments to previous levels. Appx5804(¶72). ENTRESTO®’s

sales force also supports other medications, and “[t]he accelerated reduction” in

“sales force personnel and resources would thus likely translate” to non-

compensable lost sales for those products. Appx5806(¶75). Reducing programs to

educate patients and physicians about the relative superiority of valsartan-sacubitril

treatments would lead to lost sales volume “unlikely ever to be recovered.”

Appx5805-5806(¶74).




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      Finally, MSN’s infringement would be the cause of these harms. Apple v.

Samsung Elecs., 809 F.3d 633, 641-642 (Fed. Cir. 2015). MSN seeks to market

generic products to compete directly with ENTRESTO®, and MSN’s products were

approved by piggybacking on Novartis’s NDA for ENTRESTO®. MSN must use

the manufacturing process proposed in its ANDA and, as shown, that process

necessarily results in final drug products that infringe the ’918 patent. Supra Part A.

As this Court recently confirmed, when infringement is a prerequisite to offering a

competing product, the causal-nexus standard is met. Natera, 106 F.4th at 1380.

The district court rightly made no contrary finding.

             2.     The district court erroneously relied on MSN’s unfounded
                    representations

      The district court discounted Novartis’s ample showing of irreparable harm

only by uncritically accepting MSN’s bald representations that Novartis’s damages

could be fully assessed and compensated. Appx6-9. That was clear error. A factual

finding is unsupported where it relies only on conclusory testimony, even from a

purported expert. Whitserve, LLC v. Comput. Packages, Inc., 694 F.3d 10, 31 (Fed.

Cir. 2012) (damages expert’s “superficial recitation” of legal standard “followed by

conclusory remarks” insufficient to support jury verdict).

      As an initial matter, the district court never addressed Novartis’s showing of

irreversible price erosion. Appx6-9. To the extent it believed price erosion could

be compensated by money damages, it erred. This Court has recognized that


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irreversible price erosion is a form of irreparable harm despite the availability of

infringement damages. Abbott, 544 F.3d at 1361-62. Also, the district court

assessed MSN’s ability to pay by relying on damages calculations that assume MSN

would pay for Novartis’s harm only during the course of the at-risk period.

Appx6880-6881(¶¶8-9)                          Financial Information

   Financial       . The calculations do not figure in price erosion lasting well beyond

that time frame.

      In any event, the district court also erred by accepting without meaningful

analysis MSN’s assertions that “Dr. Vellturo overstates Novartis’s potential loss and

understates MSN’s potential revenue.” Appx8. That was error because MSN’s

expert, Dr. McDuff, relied on incorrect assumptions that fatally undermine his

conclusions. McDuff dismissed out of hand the possibility that Novartis’s sales

would decline more than %        and that the              Cause of Harm

  Harm       . Appx6392(¶17); Appx6394-6395(¶¶23-24). Nor would MSN’s at-

risk-launch profits enable it to compensate Novartis. MSN’s profit estimations fail

to account for price competition pushing MSN’s pricing even lower. Appx6394-

6395(¶23).

      The only other basis for the district court’s conclusion that MSN could pay a

damages award was MSN’s self-serving representations that it could. Relying on

those representations was also error. First, the district court put great weight on



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MSN’s supposed “prior experience in conducting at-risk launches.” Appx8. But the

only previous at-risk launches MSN identified were for Tasimelteon and

Pirfenidone. Appx6880(¶5). MSN provides no evidence it actually launched either

drug at-risk, let alone that MSN was able to compensate the innovators there for any

damages award. Indeed, litigation related to Tasimelteon resulted in a stipulated

consent judgment permanently enjoining MSN from selling its generic equivalent

without a license from the patentee. Stipulation for Entry of Consent Judgment and

Permanent Injunction as to MSN Pharms. Inc. and MSN Laby’s Private Ltd., Vanda

Pharms. Inc. v. Teva Pharms. USA, Inc., No. 1:18-cv-00651-CFC (D. Del. Jan. 19,

2022), ECF No. 281. Litigation between MSN and Genentech related to Pirfenidone

ended with a similar decree. Consent Order of Dismissal, Genentech, Inc. v. Laurus

Labs Ltd. et al., No. 1:19-cv-00078-RGA (D. Del. Jan. 2, 2020), ECF No. 93. It is

thus far from clear whether MSN has experience launching at-risk, rather than just

threatening to do so.

      MSN’s other arguments are equally unfounded. The district court apparently

accepted the bare representation of MSN’s executive director that “MSN’s current

financial condition would allow it to cover the difference between escrowed sales

and Novartis’s lost profits.” Appx8. But MSN’s blithe assurances carry little

weight. For one, they assume, based on back-of-the-envelope calculations, a much

lower damages figure than that calculated by Dr. Vellturo. Compare Appx6880(¶8)



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with Appx5800(¶65). Additionally, MSN asserts it can pay any difference between

the damages figure it estimates and Novartis’s actual injury based on things like

“cash and reserves, and anticipated profits from sales of other products.”
                                                                               Financial
Appx6879(¶3), Appx6881(¶11). But because MSN fails to disclose its             Information   ,

the figures it does provide are cold comfort.

      Similarly baseless are MSN’s arguments, also relied on by the district court,

that it might choose to obtain insurance to cover any liability and that it can mitigate

its exposure by limiting the amount of its products manufactured and distributed in

the United States.     MSN offers no evidence, beyond its executive director’s

speculation, that it could obtain insurance to cover its substantial potential liability

at this late stage of this case. Appx6881(¶13). And its assertion that it could limit

its liability during the roughly four-month at-risk period appears at odds with its

subsequent representation that it has                 Business Strategy

                                      Business Strategy

  Business      Appx6882(¶15). Regardless, that MSN must even consider these

options is yet more evidence that it does not actually possess the financial

wherewithal to pay Novartis’s likely damages.

      The district court was also wrong to believe that Novartis’s harm was

quantifiable. Appx7-8. The district court ignored, without serious analysis, the

factors that would make an accurate damages calculation nearly impossible here.



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Appx7-8. The only factor it mentioned, in a footnote, was that ENTRESTO® sales

have been historically difficult to forecast.      Appx7 n.10.    The district court

disregarded this point, believing “the parties would have the benefit of actual sales

and market data on which to base or adjust their damages models.” Appx7 n.10.

But a generic launch would change the market fundamentally. If MSN were to

launch, past sales and market data could not capture what ENTRESTO®’s market

performance would have been in the “but-for” world without generic competition.

Appx5805-5806(¶¶73-74).

      The district court’s remaining criticisms of Novartis’s irreparable harm

showing were equally wrong. It dismissed the follow-on harms from Novartis’s

massive financial injury, including non-compensable injury to other product lines,

as “profit-maximizing business decisions.” Appx7. But this Court has recognized

similar facts as supporting irreparable harm. Celsis, 664 F.3d at 930 (“loss of

business opportunities”); Apotex, 470 F.3d at 1383 (“potential reduction in work

force” and “discontinuance of clinical trials”).

      The district court also refused to consider the additional harms that would

follow if MSN’s launch caused other generic pharmaceutical manufacturers to

launch their own valsartan-sacubitril products at risk. Appx6-7. But the irreparable

harm analysis is not a damages calculation, and the district court cited no authority

from this Court or otherwise supporting its view that “actions taken by other generic



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drug makers” could not be considered. Appx 6-7. Indeed, the district court was

inconsistent on this very point, seeming to consider the actions of other generic drug

manufacturers when it subsequently considered the harm entering an injunction

would inflict on MSN by depriving it of a supposed “first-mover advantage” vis-à-

vis other generic manufacturers. Appx9.

      C.     The Equities Favor an Injunction

      The public interest and equities also weigh in favor of an injunction. On

public interest, this Court has “long acknowledged the importance of the patent

system in encouraging innovation.” Apotex, 470 F.3d at 1383. That is especially

true in the pharmaceutical context because the incentive to invest “in drug research

and development” “would be adversely affected by taking market benefits away

from the patentee and giving them to [an] accused infringer.” Celsis, 664 F.3d at

931-32. Those interests are amplified here because, as explained, generic entry

would also cause heart-failure patients to suffer from reduced investments in patient-

support programs and educational campaigns.           Appx5808-5809(¶81).       Such

permanently reduced investment in patient outreach may cause a significant number

of heart-failure patients to forgo treatment with any sacubitril/valsartan drug—

whether ENTRESTO® or a generic—thereby depriving them of the significant

clinical benefits the combination offers over other drugs. Appx5802-5803(¶¶69-70).

And contrary to the district court’s reasoning, this harm cannot be offset by the



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availability of cheaper generics.       Appx9-10.     Patients who never learn about

sacubitril/valsartan will not take it, regardless of its price.

       The significant harm to Novartis and the public outweighs any harm MSN

would suffer. At a minimum, it is undisputed that Novartis stands to lose more

revenue than MSN.          MSN.Opp.23-24; Appx5807-5808(¶79); Appx6881(¶9).

Novartis’s harms will also outweigh MSN’s because, as discussed, they will

continue even after MSN’s infringement is permanently enjoined. Appx5807-

5808(¶9); supra Part B. The district court believed otherwise because it thought

MSN would lose a “first-mover advantage.” Appx9. But MSN has conceded a bond

would secure its alleged harms. MSN.Opp.25-26.

                                    CONCLUSION

       This Court should reverse and order MSN enjoined from making, using,

offering to sell, or selling in the United States, or importing into the United States

MSN’s generic versions of ENTRESTO® until such time as either a final judgment

is entered in this action or the Court orders otherwise.




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Dated: August 20, 2024                    Respectfully submitted,

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                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

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